

People v Tyron P. (2025 NY Slip Op 01301)





People v Tyron P.


2025 NY Slip Op 01301


Decided on March 06, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 06, 2025

Before: Kern, J.P., Mendez, Rodriguez, Pitt-Burke, Higgitt, JJ. 


Ind No. 4240/16|Appeal No. 3827|Case No. 2018-2144|

[*1]The People of the State of New York, Respondent,
vTyron P., Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Graham Ball of counsel), for appellant.



Judgment, Supreme Court, New York County (Edwina G. Mendelson, J.), rendered August 18, 2017, convicting defendant, upon his plea of guilty, of criminal possession of a weapon in the second degree, adjudicating him a youthful offender, and sentencing him to a conditional discharge, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharge imposed at sentencing, and otherwise affirmed.
Based on our own interest of justice powers, we vacate the surcharge imposed on defendant at sentencing (see People v Chirinos, 190 AD3d 434, 435 [1st Dept 2021]). We note that the People do not oppose this relief.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 6, 2025








